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    EXHIBIT W
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(such as ectopic pregnancies) and conditions that might become emergencies (such as vaginal

bleeding), and patients with medical concerns that might have associated stigmas (such as

injuries resulting from violence in relationships).

       4.      I have been a dues-paying member of the Communications Workers of America

(CWA) since 2021 and am active in my local’s doctors’ caucus. CWA works for health and

safety protections, equitable wages, benefits and working conditions, as well as increased public

funding, for healthcare workers. That, in turn, allows me to provide the best care to my patients

as possible.

       5.      As a doctor, I receive a significant amount of private information, including

health information protected under federal law, from my patients, which I enter into the

hospital’s electronic health records system. I also undertake a yearly privacy training as required

by federal law; conduct my practice in a way that maximally protects patient information, for

example by ensuring I interview patients in privacy; and am required to abide by other privacy

protections, for example by only having access to medical records containing private medical

information for specific purposes such as direct patient care or research purposes as determined

by the Institutional Review Board.

       6.      It is my understanding that the hospital at which I work regularly submits

information, including health information protected under federal law, to the Department of

Health and Human Services (HHS), either directly or through intermediaries. For example,

through an intermediary, my hospital submits information to the Centers for Medicare and

Medicaid Services for insurance reimbursements. This information may include a patient’s

name, medication, medical history, date of birth, and billing codes describing the purpose of a




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visit, among other identifying information. As an organ transplant center, my hospital also

reports sensitive information to the Health Resources and Services Administration.

       7.​     When a patient comes into the emergency department, they have an understanding

that the information they tell me will be kept confidential. And I affirmatively communicate to

my patients that, barring the few instances in which I am required to report something under state

law (e.g., information around gun injuries), I will keep the information they tell me private, and

that my hospital will do the same. Blanket assurances of confidentiality are even more important

in the context of emergency care, where I may not have as much time to build up patient trust.

       8.​     Confidentiality is a critical component of my ability to provide my patients with

the care they need. Without confidentiality protections, my patients may not tell me the

information I need to know. That is especially true with regard to sensitive topics such as sexual

relationships, familial relationships, domestic violence, and mental health information. And

without confidentiality protections, patients may not even show up to receive the care that they

need. That may cause harms to the community I serve more broadly, especially concerning the

prevention of disease and infection.

       9.​     If DOGE or other unequipped employees have access to the sensitive personal

information and protected health information at HHS, it will have an enormous impact on my

ability to do my job and it will be life-threatening for my patients. Without assurances of

confidentiality, many patients will not come to the hospital. Those that do will be discouraged

from providing me with accurate information.

       10.​    Physicians have long faced hurdles to obtaining patient trust—trust that has been

threatened more than ever over the last few years. It is integral that patient information be

protected by health care providers and, just as importantly, the federal government, so as to not



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undermine the provision of healthcare in America. If DOGE has access to sensitive information,

it would be damaging to me as a physician because it would interfere with my ability to practice

emergency medicine to the best of my ability.



Executed on February 10, 2025

                                                                      /s/




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